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   Filed           Document Description          Page                    Docket Text
07/10/2020 1                                            FILED PETITION FOR WRIT OF MANDAMUS.
           1 Docketing Letter and Briefing        2     DOCKETED CAUSE AND ENTERED APPEARANCES
           Schedule                                     OF COUNSEL. NOTIFIED REAL PARTIES IN
                                                        INTEREST OF FILING. [11749042] (JBS)
           1 Notice to All Parties and Counsel    3
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              July 10, 2020


       No.:             20-72001
       D.C. No.:        3:20-cv-02013-RS
       Short Title:     Rowland Andrade v. USDC-CASF


       Dear Petitioner/Counsel

       A petition for writ of mandamus and/or prohibition has been received in the Clerk's
       Office of the United States Court of Appeals for the Ninth Circuit. The U.S. Court
       of Appeals docket number shown above has been assigned to this case. Always
       indicate this docket number when corresponding with this office about your case.

       If the U.S. Court of Appeals docket fee has not yet been paid, please make
       immediate arrangements to do so. If you wish to apply for in forma pauperis status,
       you must file a motion for permission to proceed in forma pauperis with this court.

       Pursuant to FRAP Rule 21(b), no answer to a petition for writ of mandamus and/or
       prohibition may be filed unless ordered by the Court. If such an order is issued, the
       answer shall be filed by the respondents within the time fixed by the Court.

       Pursuant to Circuit Rule 21-2, an application for writ of mandamus and/or
       prohibition shall not bear the name of the district court judge concerned. Rather,
       the appropriate district court shall be named as respondent.
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court



                      ATTENTION ALL PARTIES AND COUNSEL
                   PLEASE REVIEW PARTIES AND COUNSEL LISTING



       We have opened this appeal/petition based on the information provided to us by
       the appellant/petitioner and/or the lower court or agency. EVERY attorney and
       unrepresented litigant receiving this notice MUST immediately review the caption
       and service list for this case and notify the Court of any corrections.

       Failure to ensure that all parties and counsel are accurately listed on our docket,
       and that counsel are registered and admitted, may result in your inability to
       participate in and/or receive notice of filings in this case, and may also result in the
       waiver of claims or defenses.

       PARTY LISTING:
       Notify the Clerk immediately if you (as an unrepresented litigant) or your client(s)
       are not properly and accurately listed or identified as a party to the appeal/petition.
       To report an inaccurate identification of a party (including company names,
       substitution of government officials appearing only in their official capacity, or
       spelling errors), or to request that a party who is listed only by their lower court
       role (such as plaintiff/defendant/movant) be listed as a party to the appeal/petition
       as an appellee or respondent so that the party can appear in this Court and submit
       filings, contact the Help Desk at http://www.ca9.uscourts.gov/cmecf/feedback/ or
       send a letter to the Clerk. If you or your client were identified as a party to the
       appeal/petition in the notice of appeal/petition for review or representation
       statement and you believe this is in error, file a motion to dismiss as to those
       parties.

       COUNSEL LISTING:
       In addition to reviewing the caption with respect to your client(s) as discussed
       above, all counsel receiving this notice must also review the electronic notice of
       docket activity or the service list for the case to ensure that the correct counsel are
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listed for your clients. If appellate counsel are not on the service list, they must file
a notice of appearance or substitution immediately or contact the Clerk's office.

NOTE that in criminal and habeas corpus appeals, trial counsel WILL remain as
counsel of record on appeal until or unless they are relieved or replaced by Court
order. See Ninth Circuit Rule 4-1.

REGISTRATION AND ADMISSION TO PRACTICE:
Every counsel listed on the docket must be admitted to practice before the Ninth
Circuit AND registered for electronic filing in the Ninth Circuit in order to remain
or appear on the docket as counsel of record. See Ninth Circuit Rules 25-5(a) and
46-1.2. These are two separate and independent requirements and doing one does
not satisfy the other. If you are not registered and/or admitted, you MUST, within 7
days from receipt of this notice, register for electronic filing AND apply for
admission, or be replaced by substitute counsel or otherwise withdraw from the
case.

If you are not registered for electronic filing, you will not receive further notices of
filings from the Court in this case, including important scheduling orders and
orders requiring a response. Failure to respond to a Court order or otherwise meet
an established deadline can result in the dismissal of the appeal/petition for failure
to prosecute by the Clerk pursuant to Ninth Circuit Rule 42-1, or other action
adverse to your client.

If you will be replaced by substitute counsel, new counsel should file a notice of
appearance/substitution (no form or other attachment is required) and should note
that they are replacing existing counsel. To withdraw without replacement, you
must electronically file a notice or motion to withdraw as counsel from this
appeal/petition and include your client's contact information.

To register for electronic filing, and for more information about Ninth Circuit
CM/ECF, visit our website at http://www.ca9.uscourts.gov/cmecf/#section-
registration.

To apply for admission, see the instructions and form application available on our
website at https://www.ca9.uscourts.gov/attorneys/.
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                                 No. 20-_____


                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT


                   In re ROWLAND MARCUS ANDRADE

                         ROWLAND MARCUS ANDRADE,
                                 Petitioner,
                                       v.

               UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF CALIFORNIA,
                            Respondent,

                                      and
UNITED STATES OF AMERICA, WILMINGTON SAVINGS FUND SOCIETY,
        FSB, and SECURITIES AND EXCHANGE COMMISSION,
                       Real Parties in Interest.


     On Petition for a Writ of Mandamus to the United States District Court
                      for the Northern District of California
         (Nos. 3:20-cv-2013-RS, 3:20-cr-249-RS, 3:20-cv-4188-RS)


                PETITION FOR A WRIT OF MANDAMUS


                                            MANUEL A. MEDRANO
                                            BRIAN J. BECK
                                            Attorneys
                                            Zuber Lawler & Del Duca LLP
                                            350 S. Grand Avenue, 32nd Floor
                                            Los Angeles, CA 90071
                                            (213) 596-5620
                                            mmedrano@zuberlawler.com
Counsel for Petitioner                      bbeck@zuberlawler.com
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                                CIRCUIT RULE 27-3 CERTIFICATE
           Pursuant to Circuit Rule 27-3(c), I hereby certify that to avoid irreparable

harm to Petitioner Rowland Marcus Andrade, relief is needed in less than 21 days’

time.

           1.           Regarding Circuit Rule 27-3(c)(i), counsel are as follows:

           Counsel for Petitioner Andrade:

           Manuel A. Medrano
           (213) 596-5620
           mmedrano@zuberlawler.com

           Brian J. Beck
           (312) 346-1100
           bbeck@zuberlawler.com

           Counsel for Plaintiff United States of America in Case No. 3:20-cv-2013

           Chris A. Kaltsas
           (415) 436-7200
           chris.kaltsas2@usdoj.gov

           Counsel for Claimant Wilmington Savings Fund Society, FSB as trustee
           for IRP FUND II TRUST 2A in Case No. 3:20-cv-2013

           Preston K. Ascherin
           (213) 688-9500
           preston.ascherin@akerman.com

           Counsel for Plaintiff United States of America in Case No. 3:20-cr-249

           Lloyd A. Farnham
           (415) 436-7200
           Lloyd.Farnham@usdoj.gov




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           Counsel for Plaintiff Securities and Exchange Commission in Case No.
           3:20-cv-4188

           Mark David Katz
           (415) 705-2501
           katzma@sec.gov

           2.           Regarding Circuit Rule 27-3(c)(ii), the facts showing the existence

and nature of the claimed emergency are set forth in detail below in the Statement

of the Case (p. 13). In brief, Petitioner Andrade respectfully requests emergency

relief in this matter because pending substantial motions by the government to stay

the civil forfeiture case under 18 U.S.C. § 981(g) and by Andrade for a protective

order to preserve exculpatory evidence in danger of destruction are now scheduled

to be heard on July 23, 2020, by the judge to whom the civil forfeiture case was

improperly reassigned. Without emergency relief, Andrade will be prejudiced

either: (1) by these cases being decided by the incorrect judge, mooting the relief

sought here; or (2) by having the underlying cases stayed for months pending

resolution of this petition, delaying resolution of the criminal charges against him

for months. Andrade intends to file motions for stays of each of the underlying

cases with the District Court pending resolution of this Petition.

           3.           Regarding Circuit Rule 27-3(c)(iii), the District Court issued the order

being appealed—the sua sponte reassignment of the underlying civil forfeiture

case by the Executive Committee of the United States District Court for the

Northern District of California from Judge Vince Chhabria to Judge Richard

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Seeborg—on June 30, 2020. This Petition for Writ of Mandamus is being filed as

quickly as practicable in order to fully present Petitioner Andrade’s claim for

mandamus relief.

           4.           Regarding Circuit Rule 27-3(c)(iv), Plaintiff’s counsel were notified

through emails sent on July 10, 2020, of Petitioner Andrade’s intended filing of

this mandamus petition and emergency motion. Counsel are being served with the

just-finalized petition and motion simultaneously with filing both via the district

court’s CM/ECF system and via e-mail to the counsel’s above-stated addresses.

           5.           Regarding Circuit Rule 27-3(c)(v), relief has not been sought in the

District Court because the Local Rules for the United States District Court for the

Northern District of California and the General Orders establishing that District

Court’s Executive Committee provide no mechanism to move for reconsideration

of an order by the Executive Committee reassigning a case. The Petition for Writ

of Mandamus should not be remanded or denied because it is the only method by

which Petitioner Andrade can challenge the order of the District Court’s Executive

Committee.



                                                          s/ Manuel A. Medrano
                                                          Manuel A. Medrano

                                                          Counsel for Petitioner




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                        INTRODUCTION AND RELIEF SOUGHT
           On June 30, 2020, the Executive Committee for the Northern District of

California inexplicably reassigned a civil forfeiture case against Petitioner

Rowland Marcus Andrade to a judge who had been assigned later-filed related

criminal cases. This reassignment violated the Northern District of California’s

own local rules, which: (1) require related cases to be assigned to the judge of the

earliest filed case, (2) grant parties a week to respond to a notice of related criminal

case, and (3) require the judge of the earliest filed case to make the initial decision

as to whether the cases are related.

           But this reassignment was no mere technical violation of local rules. It

removed the case from Judge Vince Chhabria, who had already issued an order on

June 4, 2020, indicating that he would impose sanctions on the United States

attorneys and agents involved if he found them to be unnecessarily withholding

documents from Andrade in connection with the government’s motion to stay. It

removed the case from Judge Chhabria despite the fact that Answers had been filed

and four motions were pending and fully or near-fully briefed, while the later-filed

related cases had been filed less than a week earlier and had not required any

substantial judicial involvement. And by reassigning the case on June 30, the

Executive Committee caused the hearing scheduled by Judge Chhabria for July 1,

at which the United States attorneys faced the prospect of sanctions, to be stricken,



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moved to a different judge, and delayed for at least three weeks. Other than a rote

recitation that the reassignment was “in the interests of justice and judicial

economy,” the Executive Committee’s order offered no explanation whatsoever of

why the related cases were assigned to the judge of the later-filed cases.

           This case, which is related to pending criminal and civil cases against

notorious lobbyist and convicted felon Jack Abramoff, raises serious questions of

government corruption. Documents already filed with the District Court, and

attached to this Petition, show that Abramoff attempted to extort Andrade through

threats of malicious criminal and civil forfeiture proceedings. In a case as

politically fraught as this one, it is more important that the District Court

adjudicating the case scrupulously adhere to its own rules and avoid any

appearance of impropriety. Petitioner therefore requests that this Court grant a writ

of mandamus requiring the District Court to reassign the underlying civil forfeiture

case to its original judge, Judge Chhabria, and to explain in detail the

circumstances and bases for its June 30, 2020 Reassignment Order.

                            STATEMENT OF JURISDICTION
           This Court has authority to issue a writ of mandamus pursuant to 28 U.S.C.

§ 1651 and Rule 21 of the Federal Rules of Appellate Procedure.




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                               STATEMENT OF THE ISSUE
           Whether this Court should exercise its authority under the All Writs Act, 28

U.S.C. § 1651, to reverse the order of the District Court’s Executive Committee

reassigning the civil forfeiture case against Petitioner-Claimant Andrade’s

residence to the judge of a later-filed related criminal case in violation of the

District Court’s own local rules and of 28 U.S.C. § 137.

                               STATEMENT OF THE CASE
I.         Andrade develops his AML Bitcoin cryptocurrency from 2015-2020.

           Starting in 2012, Andrade began developing a cryptocurrency with

integrated anti-money-laundering (“AML”) features, and in 2014, Andrade

founded his company NAC Foundation, LLC, to develop and sell that

cryptocurrency. Case No. 3:20-cv-2013, ECF No. 32-1 at ¶ 11. Andrade launched

his first version of that cryptocurrency, named Aten Coin, on September 21, 2015.

Id. at ¶ 13. Also in 2015, Andrade began filing patent applications on his

cryptocurrency technology and its related biometric security and identity

verification features. Id. at ¶ 14. As of today, Andrade has been issued at least

seven U.S. patents on his technologies along with many related foreign patents. Id.

           Andrade later began developing an improved version of his cryptocurrency

that he named “AML Bitcoin.” In October 2017, he held an “Initial Coin Offering”

or “ICO” during which customers could purchase “AML Bitcoin Tokens.” Id. at ¶



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15. These AML Bitcoin Tokens would not include AML Bitcoin’s unique security

features, but would be exchangeable on a one-to-one basis for full-featured AML

Bitcoins when the cryptocurrency would be fully developed. Millions of AML

Bitcoin Tokens were sold as part of that ICO. Id. at ¶ 16.

           Andrade ended up taking a little over two and a half years to launch the full-

featured AML Bitcoin. Id. at ¶ 18. He conducted public beta testing of the AML

Bitcoin system starting in November 2019. He then launched the full-featured

AML Bitcoin in April 2020. Id. at ¶¶ 21-22.

II.        The government files its civil and criminal complaints against Andrade
           and his property.

           On March 23, 2020, the government filed a complaint in the District Court

seeking civil forfeiture of Andrade’s Missouri City, Texas residence. Case No. 20-

cv-2013, ECF No. 1. The complaint alleges primarily that Andrade’s

cryptocurrency business was a scheme to defraud customers by taking their money

as part of the ICO, and then failing to develop the cryptocurrency as promised. Id.

at ¶¶ 8-9, 11, 16. The complaint identifies only one specific victim, an individual

referred to as “VICTIM ONE,” who allegedly invested a total of $1,105,000 in

AML Bitcoin Tokens in January 2018. Id. at ¶ 10. The complaint then alleges that

Andrade used money traceable to “VICTIM ONE’s” payments to purchase his

residence in Texas in May 2018. Id. at ¶ 15. The complaint alleges that the

property is subject to forfeiture as the proceeds of wire fraud under 18 U.S.C. §

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1343 and as property involved in a money laundering transaction under 18 U.S.C.

§ 1956. Id. at ¶ 24.

           Andrade and his wife, Solmaz Andrade, both filed verified claims as joint

owners of the property by mail on May 4, 2020. Case No. 20-cv-2013, ECF Nos.

10-11. Andrade filed his Answer to the complaint on May 18, 2020. Case No. 20-

cv-2013, ECF No. 18. After Andrade declined assignment to a magistrate judge,

the District Court used its “proportionate, random and blind system” to reassign the

case to Judge Vince Chhabria on May 19, 2020. Case No. 20-cv-2013, ECF No.

19. After reassignment, the Court scheduled an initial case management conference

for June 24, 2020. Case No. 20-cv-2013, ECF No. 21.

III.       Andrade seeks immediate discovery and quick resolution of the case,
           based on the Complaint’s lack of evidence.

           Andrade maintains that the core allegations of the Complaint are

demonstrably false. The Government’s entire theory of wire fraud depends on the

truth of the allegation of Paragraph 16 of the Complaint: “To date, ANDRADE and

the NAC have not made any meaningful progress towards developing AtenCoin,

AML Bitcoin, or ABTC.” Case No. 20-cv-2013, ECF No. 1 at ¶ 16. But that

allegation cannot be true when Aten Coin was released five years ago, “ABTC” or

AML Bitcoin Tokens were released in October 2017, and full-featured AML

Bitcoin was in public beta testing by November 2019 and released to the public in

April 2020. Case No. 20-cv-2013, ECF No. 18 at ¶¶ 19, 32 The Government’s case

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for wire fraud also falls apart based on the simple fact that Andrade offered the

only identified victim (as well as another individual who had apparently been

misinformed by “J.D.”) a full refund in 2018, after having his compliance attorney

interview every AML Bitcoin Token customer to determine if any had

misunderstood what exactly they were buying. Id. at ¶¶ 24, 28, Ex. G.

           Because Andrade believed the Complaint to be meritless, and that discovery

would quickly reveal that there was no factual basis for the Government’s

Complaint, Andrade pushed for accelerated discovery. He asked the Government’s

counsel on May 18, 2020, if it would agree to early discovery and to produce

evidence supporting the key allegations of the Complaint. Case No. 20-cv-2013,

ECF No. 22, Ex. A. When the Government refused, Andrade requested an

expedited initial case management conference and filed a motion on May 26, 2020,

to shorten time to allow discovery to proceed immediately. Case No. 20-cv-2013,

ECF No. 22. The Government opposed the motion, explaining that it was hopeful

it could adequately answer Andrade’s discovery requests by mid-June, but could

not do so immediately. Case No. 20-cv-2013, ECF No. 24 at 2.

IV.        Rather than allow discovery to proceed, the Government moves to stay
           the civil forfeiture case—and is threatened with sanctions by Judge
           Chhabria.

           A mere two days after representing that the Government would be ready to

proceed with discovery in mid-June, the Government filed an administrative



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motion to seal a motion to stay the civil forfeiture proceeding indefinitely under 18

U.S.C. § 981(g)(1). Case No. 20-cv-2013, ECF Nos. 25-26. Moreover, nearly the

entire substance of the Government’s motion to stay was filed ex parte, in camera,

and under seal, preventing Andrade from adequately opposing the motion to stay.

Id. Nevertheless, Andrade opposed the motion to seal evidence, noting that the

Government had not in fact correctly filed the motion to stay and requesting that

the Court allow a full 14 days to respond to the motion to stay as required by the

District Court’s Local Rules. Case No. 20-cv-2013, ECF No. 28 at 2-4.

             On June 4, 2020, Judge Chhabria entered an Order not only allowing

Andrade the full time allowed by the Local Rules to respond to the motion to stay,

but threatening the Government with sanctions for unnecessary sealing of

documents:

           Andrade’s request to have 14 days to respond to the motion to stay is
           granted. A full response is due 14 days from the date of this order. A hearing
           on the motion will take place July 1, 2020 at 1:30 p.m. by Zoom.
           Meanwhile, the government must conduct a careful, responsible, and
           conservative assessment of what truly cannot be disclosed to Andrade. If the
           Court determines that the government is reflexively and unnecessarily
           withholding documents from Andrade, it will consider sanctioning the
           lawyers and law enforcement entities involved.

Exhibit 2 (Case No. 20-cv-2013, ECF No. 30). Andrade duly filed his opposition to

the motion to stay on June 18, 2020. Case No. 20-cv-2013, ECF No. 32.




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V.         While waiting for the July 1 hearing, Andrade discovers signs of
           Government misconduct along with already known indications of
           political corruption connected to this case.

           Andrade knew, when the civil forfeiture case was filed, that there were

additional individuals working with the Government to bring its meritless claim,

because those individuals had brought “J.D.” into Andrade’s business, attempted to

force Andrade to sell his business, and threatened to destroy Andrade’s business

through government civil forfeiture and criminal prosecutions if Andrade still

refused to sell. Specifically, in 2017, infamous convicted felon and lobbyist Jack

Abramoff offered to help Andrade develop partnerships with Abramoff’s contacts

in government to use AML Bitcoin and NAC’s technologies. Case No. 20-cv-

2013, ECF No. 31 at 3. As part of the bargain with Abramoff, Andrade hired

several of Abramoff’s associates, including the “J.D.” identified in the civil

forfeiture complaint. Id. Later in 2018, however, Abramoff attempted to force

Andrade to sell his business interests and intellectual property for $100 million, of

which Abramoff would personally receive a $40 million finder’s fee. Id.

           Abramoff then escalated the pressure on Andrade into extortionate threats

involving government prosecution. On August 20, 2019, Abramoff’s associate

David Cohen sent Andrade an email urging Andrade to accept the deal or bad

things would happen to Andrade’s business:

           If you let this life preserver float away, for whatever reason, you can
           imagine on your own the possible bad outcomes several of which I

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           have listed at the bottom of this email in blue. I am in no way
           threatening you; I am trying to present you with possible outcomes so
           you can make a rational and unemotional decision.

Id. The bad outcomes listed in that “in no way threatening” email included

government seizure of Andrade’s business, assets, and intellectual property under

civil forfeiture laws. Id. Then on August 28, 2019, when Andrade still had not

agreed to Abramoff’s deal, Cohen sent another email explicitly threatening that the

Government’s future asset forfeiture proceedings would destroy Andrade’s

business:

           And what happens if the IRS or the DoJ decide to pursue asset
           forfeiture even before you are convicted of or plead to anything
           (without the money required to mount a defense against the federal
           government)? They do that all the time, as you might know. If they do
           so here, the project is dead. No one will get anywhere near this
           project.

Id.

           Andrade also received, in May 2020, a computer that the government had

seized through a search warrant in September 2018—and it appeared to have been

tampered with. Andrade had hired a third-party service provider named “The

Office Squad” to process recordings of all telephone calls to and from NAC’s Las

Vegas office and save them to the computer. Id. at 2. The recordings would have

included calls with Abramoff and his associates as well as calls with allegedly

defrauded customers, and thus were expected to be exculpatory. Id. However, a

forensic examination of the computer revealed that it had no audio files of any kind


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stored on its hard drive after it was returned. Id. Andrade accordingly moved for a

protective order requiring the government to preserve evidence on June 10, 2020.

Id.

           Andrade also served, on June 13, 2020, a motion for sanctions and dismissal

under Fed. R. Civ. P. 11 on the basis that the government’s factual allegations

made in the Complaint could not have an adequate evidentiary basis, especially the

threshold allegation that no development of AML Bitcoin had taken place.

Andrade attached a copy of the Rule 11 motion as served to his opposition to the

Government’s motion to stay filed on June 18, 2020, explaining in part that a stay

was unwarranted because it would prevent a speedy resolution of the case and of

the Rule 11 violation that Andrade alleged the Government’s attorneys to have

committed. Case No. 3:20-cv-2013, ECF Nos. 32 at 9; 32-12.

           The Government later confirmed this case’s connection to Jack Abramoff

and that Abramoff was cooperating with the Government, when it arrested

Andrade on June 22, 2020, and a few days later filed a criminal indictment against

Andrade in Case No. 20-cr-249, and a criminal information against Abramoff in

Case No. 20-cr-260. In its press release announcing the two related criminal cases,

the U.S. Attorney’s Office for the Northern District of California also announced




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that Abramoff had agreed to enter a guilty plea. 1 Also on June 25, 2020, the SEC

filed complaints against Andrade and the NAC Foundation (Case No. 3:20-cv-

4188) and against Abramoff (Case No. 3:20-cv-4190) concerning substantially the

same events as the civil forfeiture complaint and the criminal indictment.

Abramoff has already agreed to an inexplicably generous consent judgment

requiring disgorgement of a mere $50,000. Case No. 3:20-cv-4190, ECF No. 4 at

2.

VI.        The Executive Committee for the Northern District of California sua
           sponte reassigns all five related cases to Judge Richard Seeborg,
           prompting this Petition for a Writ of Mandamus.

           At the same time the Government and SEC filed its criminal cases against

Andrade and Abramoff, the Government properly filed a Notice of Related Case in

a Criminal Action in the civil forfeiture matter pursuant to the District Court’s

Local Criminal Rule 8-1. Exhibit 3 (Case No. 3:20-cv-2013, ECF No. 36). The

Notice of Related Case noted that the indictment against Andrade had been

unsealed on June 25 and assigned to Judge Richard Seeborg, while the information

against Abramoff had been filed on June 25 and assigned to Judge Charles Breyer.




           1
        United States Attorney’s Office for the Northern District of California,
Lobbyist Jack Abramoff and CEO Rowland Marcus Andrade Charged With Fraud
In Connection With $5 Million Initial Coin Offering of Cryptocurrency AML
Bitcoin (June 25, 2020), https://www.justice.gov/usao-ndca/pr/lobbyist-jack-
abramoff-and-ceo-rowland-marcus-andrade-charged-fraud-connection-5.

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           The District Court’s Local Criminal Rule 8-1 requires a Notice of Related

Case to be filed with the judge assigned to the earliest filed action, as the

Government did. Exhibit 7 at 4. The Local Rule then allows 7 days for any party to

serve and file a statement to support or oppose the notice. Id. at 5 (Local Criminal

Rule 8-1(d)). Then, once the time for filing support or opposition to the notice has

passed, the judge assigned to the earliest-filed case is supposed to issue an order

indicating whether the later-filed case is related, and if so, whether the later-filed

case should be reassigned to the judge of the earlier-filed case. Id. (Local Criminal

Rule 8-1(e)). The deadline for Andrade to file a statement to support or oppose the

notice was thus July 2, 2020, the day after Judge Chhabria’s scheduled July 1,

2020, hearing on the Government’s motion to stay.

           But the day before the July 1, 2020 hearing, the Executive Committee for the

United States District Court for the Northern District of California reassigned the

civil forfeiture case and the criminal case against Abramoff to Judge Seeborg.

Exhibit 1 (Case No. 3:20-cv-2013, ECF No. 40). This reassignment was sua

sponte; neither party had requested that the case be reassigned away from Judge

Chhabria. The Order provided no reason why the related cases were assigned to

Judge Seeborg rather than to Judge Chhabria, who had already issued an order in

the case and who was prepared to conduct a hearing on at least the Government’s

pending motion to stay on July 1. Id. The Order stated only that it was “in the


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interests of justice and judicial economy,” without explaining why the related cases

had been assigned to the judge of the later-filed cases rather than the judge of the

earlier-filed cases. Id. The Order also did not explain why the Executive

Committee could not wait for Local Criminal Rule 8-1 to operate, allowing Judge

Chhabria to decide whether the cases were related and whether they should be

assigned to him. Id.

           The effect of the reassignment was to cancel and delay all pending motions

in the civil forfeiture case. The hearing in front of Judge Chhabria on July 1 was

stricken, and an initial case management conference was rescheduled for July 30.

Case No. 3:20-cv-2013, ECF No. 41. All pending motions had to be re-noticed for

hearings at least three weeks later; the Government’s motion to stay and Andrade’s

motion for a protective order were duly re-noticed for hearings on July 23. Case

No. 3:20-cv-2013, ECF Nos. 41, 43, 44. And the motions would be heard by Judge

Seeborg, who had not already raised the possibility of sanctioning the Government

and its attorneys for misconduct.

           Because the reassignment was ordered by the Executive Committee rather

than by the trial judge, Andrade was unable to seek reconsideration or challenge

the order in the District Court. He is thus filing this Petition for Writ of Mandamus

as an Emergency Motion, as once Judge Seeborg begins hearing the pending

motions on July 23 and starts issuing decisions, reassignment back to Judge


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Chhabria will become impractical, and the relief Andrade seeks will largely

become moot.

                                 STANDARD OF REVIEW
           Mandamus is an “extraordinary” remedy traditionally used “to confine the

court against which mandamus is sought to a lawful exercise of its prescribed

jurisdiction.” Cheney v. U.S. Dist. Ct., 542 U.S. 367, 381 (2004) (brackets and

internal quotation marks omitted). Mandamus relief is appropriate to correct errors

“amounting to a judicial usurpation of power” or a “clear abuse of discretion.” Id.

A question of statutory interpretation or application is a question of law and is

reviewed de novo, even on a petition for mandamus relief. Wash. Pub. Utils. Grp.

v. U.S. Dist. Ct. for W. Dist. of Wash., 843 F.2d 319, 324 (9th Cir. 1987). Where

mandamus is sought to require a District Court to comply with its own local rules,

the District Court’s application of its local rules is “‘reviewed for abuse of

discretion’ but with ‘a special degree of deference.’” In re Sony BMG Music

Enter., 564 F.3d 1, 5 (1st Cir. 2009) (quoting Crowley v. L.L. Bean, Inc., 361 F.3d

22, 25 (1st Cir. 2004)).

                         REASONS FOR GRANTING THE WRIT
           The Executive Committee for the District Court does not have the power to

arbitrarily reassign cases in violation of the District Court’s own local rules and

orders. It is prohibited from doing so not merely by the local rules, but by 28



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U.S.C. § 137(a), which only allows the chief judge discretion in assigning cases

“so far as such rules and orders do not otherwise prescribe.” Here, the Executive

Committee violated its own local rules and orders by reassigning Andrade’s related

cases to the judge of the later-filed cases rather than to the judge of the earlier-filed

cases. Moreover, the Executive Committee violated the District Court’s local rules

in a particularly suspect manner, reassigning the cases sua sponte the day before a

hearing at which the judge to whom the cases should have been assigned had

already indicated significant skepticism towards the Government, to the point of

threatening sanctions. Especially in this case, where the Government’s witness

Jack Abramoff is known to have extensive and corrupt connections within the

federal government, it is particularly important for the District Court to follow its

own rules to avoid any appearance of impropriety. Mandamus is thus appropriate

to ensure that the District Court cases proceed properly, following the District

Court’s local rules concerning assignment of cases.

I.         The Executive Committee’s Order violates 28 U.S.C. § 137 and the
           District Court’s Local Rules and General Orders.

           A.           The District Court’s Local Rules and General Orders require
                        related case determinations to be made by the judge of the
                        earliest-filed case, not the Executive Committee.

           Nowhere in the District Court’s General Orders or Local Rules is there any

provision allowing the Executive Committee to arbitrarily reassign cases. The

Executive Committee was established by the District Court’s General Order No.


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47. Exhibit 5. That Order establishes the membership of the Executive Committee,

the term of each of its members, the procedure for its meetings, and its authority

and duties. Id. Specifically, the Executive Committee’s authority, duties, and

responsibilities consist of: (1) acting for the Court between regular monthly

meetings of the Court on matters needing attention before the next regular monthly

meeting; (2) acting as the Budget Committee; (3) acting as the Assignment

Committee; and (4) assisting the Chief Judge in such matters as the Chief or the

Court may request. General Order No. 47 at ¶ E.

           For the Executive’s Committee’s role as the Assignment Committee, the

District Court has established a plan for assignment of cases through its General

Order No. 44. Exhibit 4. That order provides: “Cases shall be assigned blindly and

at random by the Clerk by means of an automated system approved by the judges

of the court.” General Order No. 44 at D.2. General Order No. 44 does not,

however, grant any power to reassign cases from one judge to another. General

Order No. 44 grants the Executive Committee “the power to make and review all

orders of assignment and reassignment consistent with this plan,” but it does not

grant the Executive Committee any arbitrary power to reassign cases at will.

           The District Court’s Civil Local Rules govern assignment of civil actions to

judges. Specifically, Civil Local Rule 3-3(a) provides that immediately upon filing

of any civil action, the Clerk shall assign the case to a Judge pursuant to the


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Assignment Plan of the Court—General Order No. 44 described above. Exhibit 6

at 4. There is no Civil Local Rule permitting arbitrary reassignment of cases from

one judge to another.

           Civil Local Rule 3-12 governs the procedure for assigning or reassigning

related cases. Exhibit 6 at 9-10. If a party knows or learns that an action filed in or

removed to the Northern District of California is or may be related to an action

already pending in the District, the party is required to file in the lowest-numbered

(i.e., earliest-filed) case a motion to consider whether cases should be related. Civil

Local Rule 3-12(b). Exhibit 6 at 9. If a judge believes that a case pending before

that judge is related to another case, that judge may also sua sponte refer the case

to the judge assigned to the lowest-numbered case with a request that the judge

assigned to the lowest-numbered case consider whether the cases are related. Civil

Local Rule 3-12(c). Exhibit 6 at 10. In either case, the decision as to whether the

cases are related is referred to the judge of the lowest-numbered case.

           The Criminal Local Rules provide similar rules for initial assignment of

criminal cases and consideration of whether cases are related. Criminal Local Rule

7-1 governs initial assignment of criminal cases. Exhibit 7 at 3. Criminal Local

Rule 7-1(a) requires that after the government identifies the courthouse to which

the action should be assigned, the Clerk shall assign it to a District Judge pursuant

to the Assignment Plan of the Court—again, General Order No. 44 described


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above. Exhibit 7 at 3. If a party to a criminal action knows or learns that the action

is related to a civil or criminal action, the party is required to file a “Notice of

Related Case in a Criminal Action” with the judge assigned to the earliest filed

action. Criminal Local Rule 8-1(a). Exhibit 7 at 4. Criminal Local Rule 8-1(d) then

allows any other party seven days to serve and file a statement to support or oppose

the notice. Id. Finally, Criminal Local Rule 8-1(e) requires the judge assigned to

the earliest-filed case to issue an order that indicates whether the later-filed case is

related or not. Id. As with related civil cases, the decision is committed to the judge

of the earliest-filed case.

           B.           If related cases are reassigned, the District Court’s local rules
                        require them to be reassigned to the judge of the earliest-filed
                        case.

           Both the District Court’s Civil Local Rules and Criminal Local Rules require

that if cases are found to be related, then all related cases are to be assigned to the

judge of the earliest-filed case. Civil Local Rule 3-12(f) provides that the judge

who is assigned to the lowest-numbered case will decide if the cases are or are not

related. Exhibit 6 at 10. Civil Local Rule 3-12(f)(3) then provides that if the judge

decides that any of the cases are related, the Clerk shall reassign all related later-

filed cases to that judge—the judge of the lowest numbered case. Id. Criminal

Local Rule 8-1(e) similarly requires that if the judge assigned to the earliest-filed

case orders that the later-filed case is related, the judge assigned to the earliest filed



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case must also order whether the later-filed case is to be reassigned to that judge.

Exhibit 7 at 5. If so, then the Clerk is to reassign the later-filed case to the judge of

the earliest-filed case as ordered. Criminal Local Rule 8-1(e). Exhibit 7 at 5.

           C.           The Executive Committee’s Order violated the District Court’s
                        Local Rules and General Orders.

           Here, the earliest-filed case was the civil forfeiture case, No. 3:20-cv-2013,

filed on March 23, 2020. Case No. 3:20-cv-2013, ECF No. 1. The other four

related cases—the criminal and SEC cases against Andrade, and the criminal and

SEC cases against Abramoff—were all filed between June 22 and June 25, 2020.

Case Nos. 3:20-cr-249, ECF No. 1; 3:20-cr-260, ECF No. 1; 3:20-cv-4188, ECF

No. 1; 3:20-cv-4190, ECF No. 1. It is clear that Judge Chhabria, the judge assigned

to the civil forfeiture case, was the judge of the earliest-filed case. The Government

acknowledged this by correctly filed its Notice of Related Criminal Case with

Judge Chhabria in the civil forfeiture case. Exhibit 3 (Case No. 3:20-cv-2013, ECF

No. 36).

           Under the Local Rules, therefore, the decision as to whether the cases were

related was committed to Judge Chhabria, not to the Executive Committee.

Criminal Local Rule 8-1 applied to the later-filed criminal cases, and required the

decision as to whether the cases were related to be made by the judge of the

earliest-filed case—Judge Chhabria. Civil Local Rule 3-12 applied to the later-filed

civil SEC cases, and required the decision as to whether the cases were related to

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be made by the judge of the lower-numbered, i.e., earliest-filed, case—again,

Judge Chhabria. Neither local rule, nor any of the District Court’s General Orders,

grants the Executive Committee the power to make or to overturn an order finding

cases to be related.

           Even more importantly, under the Local Rules, upon a finding that the cases

were related, all the cases should have been assigned to Judge Chhabria, not to

Judge Seeborg. Both Civil Local Rule 3-12(f)(3) and Criminal Local Rule 8-1(e)

require that related cases be assigned to the judge of the earliest-filed case, not the

later-filed case. Exhibit 6 at 10; Exhibit 7 at 5. Again, nothing in the local rules or

General Orders authorizes the assignment of related cases to the judge of the later-

filed case, and they certainly do not authorize the Executive Committee to

arbitrarily decide to assign related cases to the judge of the later-filed case. There is

no question that the Executive Committee’s order violated the District Court’s

Local Rules, and was not authorized by any General Order or Local Rule.

II.        This Court should grant a writ of mandamus vacating the Executive
           Committee’s order and remanding for reassignment of the related cases
           to Judge Chhabria.

           While the Ninth Circuit does not appear to have addressed this issue, other

Circuit Courts of Appeals have granted mandamus where a District Court assigns

or reassigns cases in violation of its own local rules. In Utah-Idaho Sugar Co. v.

Ritter, 461 F.2d 1100, 1103 (10th Cir. 1972), the Tenth Circuit granted mandamus



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reversing a Chief Judge’s order reassigning a case in essentially the same

circumstances present here. There, the Chief Judge for the District of Utah

unilaterally issued an order promulgating a new set of rules for the assignment of

cases, and under those rules assigned several cases to himself. Id. at 1102.

Applying 28 U.S.C. § 137, which governs division of business among district

judges, the chief judge argued that he had the authority to reassign cases as he saw

fit. The Tenth Circuit, however, explained that the statute only allows the chief

judge to assign cases “so far as such rules and orders do not otherwise prescribe.”

Id. at 1103 (quoting 28 U.S.C. § 137). The rules then in effect were applicable and

effective until modified or rescinded, and did not grant the chief judge the power to

assign cases in violation of the existing rules. The same is true here, where the

Executive Committee (headed by the chief judge, who signed the Executive

Committee’s order reassigning cases here) did not have the discretion to reassign

cases in a manner that violated the duly promulgated local rules for the Northern

District of California.

           The Fifth Circuit similarly granted mandamus to prevent improper

reassignment of cases in In re McBryde, 117 F.3d 208, 230 (5th Cir. 1997). There,

the chief judge argued that a special order of the court governed only the initial

assignment of cases, not reassignment, leaving reassignment of cases in the

discretion of the chief judge. Id. at 224. Applying Utah-Idaho, the Fifth Circuit


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held that the special order providing for the random initial assignment of cases

prohibits, by implication reassignment of those cases. Id. The Fifth Circuit went

even further than the Tenth Circuit in limiting the reassignment power of the Chief

Judge, noting that “not one case upholds reassignment of a pending case by a chief

judge without the consent of the presiding judge,” and that courts have not

endorsed a general reassignment power. Id. at 225. Moreover, the Fifth Circuit

went on to explain that a general reassignment power “is antithetical to and

incompatible with the structure of the federal judicial system.” Id. More generally,

“No express or implied power is granted a chief judge to affect administratively,

directly or indirectly, litigation assigned to and pending before another judge of the

court.” Id. (quoting United States v. Heath, 103 F. Supp. 1, 2 (D. Haw. 1952)).

           The Executive Committee, headed by the Chief Judge of the Northern

District of California, has done exactly what the Fifth Circuit prohibited in

McBryde. By reassigning the civil forfeiture case away from Judge Chhabria the

day before a hearing at which the Government faced a significant risk of losing its

motion to stay and facing sanctions against its attorneys and agents, the Executive

Committee directly affected the litigation assigned to and pending before Judge

Chhabria. The Executive Committee’s reassignment thus violates 28 U.S.C. §

137’s limits on the chief judge’s power, and abuses whatever discretion the




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Executive Committee had by acting in flagrant violation of the District Court’s

own Local Rules and General Orders. Mandamus is accordingly appropriate.

III.       Mandamus is particularly appropriate here in order to avoid any
           appearance of impropriety.

           The Executive Committee’s order reassigning these cases away from Judge

Chhabria offered no explanation for its decision to reassign the cases away from

the earliest-filed judge. 2 There is no direct evidence to suggest that the Executive

Committee acted for any illegitimate reason, though the timing of the order should

certainly raise concerns.

           Our judicial system is designed not merely to avoid improper influences and

prejudices, but to avoid even the appearance of impropriety. See, e.g., Liljeberg v.

Health Servs. Acquisition Corp., 486 U.S. 847, 865 (1988) (the purpose of the

recusal statute “is to promote confidence in the judiciary by avoiding even the

appearance of impropriety whenever possible); Offutt v. United States, 348 U.S.

11, 14 (1954) (“justice must satisfy the appearance of justice.”). The Code of

Conduct for United States Judges directs federal judges to “avoid both impropriety

and its appearance.” In re Complaint of Judicial Misconduct, 816 F.3d 1266, 1267

(9th Cir. 2016).


           2
        Petitioner respectfully asks that this Court request, as part of the District
Court’s response to this Petition, that the Executive Committee of the District
Court explain the circumstances that required it to decide to reassign this case
away from Judge Chhabria sua sponte the day before the scheduled July 1 hearing.

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           The timing of the Executive Committee’s order, by reassigning the civil

forfeiture case a day before a hearing at which the original judge had already

threatened to sanction the government, creates an appearance of impropriety: that

the Executive Committee issued its unusual order in order to protect the

Government from a severe adverse litigation outcome. The timing alone would

suggest an appearance of impropriety in any case, but this is not an everyday civil

forfeiture case. This is a civil forfeiture case involving perhaps the most famous

embodiment of corruption in modern American government, Jack Abramoff. 3 Any

deviation from the rules and statutes in place opens the possibility of improper

influence.

           It is thus particularly important that this Court grant mandamus in this case

to protect confidence in the judiciary and avoid any appearance of impropriety.

The Northern District of California violated its own rules in a way prejudicial to

Andrade and favorable to the Government, for whom Abramoff is a cooperating

witness. Previous case law authorizes mandamus relief to prevent the Northern

District of California from ignoring its own rules regarding reassignment of related




           3
       Abramoff’s own memoir describes himself as “America’s Most Notorious
Lobbyist.” Jack Abramoff, Capitol Punishment: The Hard Truth About
Washington Corruption From America’s Most Notorious Lobbyist (WNDbooks
Nov. 2011).

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cases. The circumstances of this case demonstrate why this Court must ensure that

the Northern District of California follows its own procedures to the letter.

                                       CONCLUSION
           The Executive Committee of the District Court did not have the power to

reassign the underlying cases to the judge of the later-filed cases rather than the

earlier-filed cases. The circumstances under which it did so create an appearance of

impropriety in a case that demands the utmost adherence to the rules of procedure.

Thus, for the foregoing reasons, Petitioner Andrade respectfully requests that this

Court grant his petition for a writ of mandamus, and order the District Court to

reassign each of the underlying related cases to the judge assigned to the earliest-

filed case, Judge Chhabria, and to explain in detail the circumstances and bases for

its June 30, 2020 Reassignment Order.



 Dated: July 10, 2020                           Respectfully submitted,
                                                s/ Manuel A. Medrano
                                                MANUEL A. MEDRANO
                                                BRIAN J. BECK
                                                Attorneys
                                                Zuber Lawler & Del Duca LLP
                                                350 S. Grand Avenue, 32nd Floor
                                                Los Angeles, CA 90071
                                                (213) 596-5620
                                                mmedrano@zuberlawler.com
                                                bbeck@zuberlawler.com




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                           STATEMENT OF RELATED CASES
           There are no related cases pending before this Court within the meaning of

Circuit Rule 28-2.6.




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                               CERTIFICATE OF SERVICE
           I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Ninth Circuit by using the

appellate CM/ECF system on July 10, 2020.

           I further certify that on July 10, 2020, a notice of the filing of the foregoing

(including a complete copy of the foregoing) will be filed in the underlying

proceedings in the United States District Court for the Northern District of

California in compliance with Federal Rule of Appellate Procedure 21(a)(1), and

that all parties to those proceedings will be served with that notice through the

district court’s CM/ECF system. In addition, a courtesy copy of the foregoing has

been provided via e-mail to the following counsel for the United States and

Claimant Wilmington Savings Fund Society:

 Chris A. Kaltsas                                Lloyd Farnham
 U.S. Attorney’s Office                          U.S. Attorney’s Office
 450 Golden Gate Ave.                            450 Golden Gate Ave.
 San Francisco, CA 94102                         San Francisco, CA 94102
 chris.kaltsas2@usdoj.gov                        Lloyd.Farnham@usdoj.gov

 Marc David Katz                                 Preston K. Ascherin
 Securities & Exchange Commission                Akerman LLP
 44 Montgomery Street, Suite 2800                601 West Fifth Street, Suite 300
 San Francisco, CA 94104                         Los Angeles, CA 90071
 katzma@sec.gov                                  preston.ascherin@akerman.com

                                                    s/ Manuel A. Medrano
                                                    Manuel A. Medrano
                                                    Counsel for Petitioner

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                                  No. 20-_____


                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                   In re ROWLAND MARCUS ANDRADE

                         ROWLAND MARCUS ANDRADE,
                                 Petitioner,
                                        v.

               UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF CALIFORNIA,
                            Respondent,

                                       and
UNITED STATES OF AMERICA, WILMINGTON SAVINGS FUND SOCIETY,
        FSB, and SECURITIES AND EXCHANGE COMMISSION,
                       Real Parties in Interest.


     On Petition for a Writ of Mandamus to the United States District Court
                      for the Northern District of California
         (Nos. 3:20-cv-2013-RS, 3:20-cr-249-RS, 3:20-cv-4188-RS)


        EXHIBITS TO PETITION FOR A WRIT OF MANDAMUS


                                             MANUEL A. MEDRANO
                                             BRIAN J. BECK
                                             Attorneys
                                             Zuber Lawler & Del Duca LLP
                                             350 S. Grand Avenue, 32nd Floor
                                             Los Angeles, CA 90071
                                             (213) 596-5620
                                             mmedrano@zuberlawler.com
Counsel for Petitioner                       bbeck@zuberlawler.com
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                                     INDEX OF EXHIBITS

  Exhibit                                        Description
   No.

       1           Reassignment Order dated June 30, 2020 (ECF No. 40)

       2           Order Regarding Motion to Stay dated June 4, 2020 (ECF No. 30)

       3           Notice of Related Case in a Criminal Action dated June 25, 2020 (ECF
                   No. 36)

       4           Northern District of California General Order 44 – Assignment Plan

       5           Northern District of California General Order 47 – Executive
                   Committee

       6           Excerpts from the Northern District of California Civil Local Rules

       7           Excerpts from the Northern District of California Criminal Local Rules




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                          Exhibit 1
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                                   1

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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                           Case No. 3:20-cr-00260-CRB
                                                          Plaintiff,                         Case No. 3:20-cv-02013-VC
                                   8
                                                   v.
                                   9

                                  10     JACK ABRAMOFF,                                     REASSIGNMENT ORDER
                                                          Defendant.
                                  11
                                  12     UNITED STATES OF AMERICA,
Northern District of California
 United States District Court




                                  13                      Plaintiff,

                                  14               v.

                                  15     ONE PARCEL OF REAL PROPERTY
                                         LOCATED AT 9414 PLAZA POINT DR,
                                  16     MISSOURI CITY, TEXAS, 77459

                                  17                      Defendant.

                                  18             By Order of the Executive Committee, and in the interests of justice and judicial economy,
                                  19   the following cases will be reassigned to the Honorable Richard Seeborg for all further
                                  20   proceedings,
                                  21             1. United States v. Abramoff, 20-cr-00260-CRB (filed June 25, 2020)
                                  22             2. United States v. One Parcel of Real Estate Property, 20-cv-02013-VC (filed Mar. 23,
                                  23                2020)
                                  24             given their relationship with the following cases currently pending on Judge Seeborg’s
                                  25   docket:
                                  26             1. United States v. Andrade, 20-cr-00249-RS (filed June 22, 2020)
                                  27             2. SEC v. NAC Found., LLC, 20-cv-04188-RS (filed June 25, 2020)
                                  28             3. SEC v. Abramoff, 20-cv-04190-RS (filed June 25, 2020)
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                                   1               30 2020
                                       Dated: June __,                          FOR THE EXECUTIVE COMMITEE

                                   2                                             /s/ Phyllis J. Hamilton
                                   3                                            PHYLLIS J. HAMILTON
                                                                                Chief Judge of the United States District Court
                                   4

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Northern District of California
 United States District Court




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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                        Case No. 20-cv-02013-VC
                 Plaintiff,
                                                   ORDER RE MOTION TO STAY
          v.

  ONE PARCEL OF REAL PROPETRY
  LOCATED AT 9414 PLAZA POINT
  DRIVE, MISSOURI CITY, TEXAS,
  77459,
                 Defendant.

       Andrade’s request to have 14 days to respond to the motion to stay is granted. A full

response is due 14 days from the date of this order. A hearing on the motion will take place July

1, 2020 at 1:30 p.m. by Zoom. Meanwhile, the government must conduct a careful, responsible,

and conservative assessment of what truly cannot be disclosed to Andrade. If the Court

determines that the government is reflexively and unnecessarily withholding documents from

Andrade, it will consider sanctioning the lawyers and law enforcement entities involved.


       IT IS SO ORDERED.

Dated: June 4, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
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 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 LLOYD FARNHAM (CABN 202231)
   CHRIS KALTSAS (NYBN 5460902)
 5 ANDREW F. DAWSON (CABN 264421)
   Assistant United States Attorney
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          lloyd.farnham @ usdoj.gov
 9
   Attorneys for United States of America
10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                 )   CIVIL CASE NO. 20-02013 VC
                                               )   [Filed March 23, 2020]
15           Plaintiff,                        )
                                               )
16      v.                                     )   NOTICE OF RELATED CASE
                                               )   IN A CRIMINAL ACTION
17   ONE PARCEL OF REAL ESTATE                 )
     PROPERTY LOCATED AT 9414 PLAZA            )
18   POINT DRIVE, MISSOURI CITY, TEXAS,        )
     77459,                                    )
19                                             )
             Defendant.                        )
20                                             )
                                               )
21

22   UNITED STATES OF AMERICA,                 ) Case No. 20-CR-00249 RS
                                               ) [Filed June 22, 2020]
23           Plaintiff,                        )
                                               )
24      v.                                     )
                                               )
25   ROWLAND MARCUS ANDRADE.                   )
                                               )
26           Defendant.                        )
                                               )
27

28                               [CAPTION CONTINUES NEXT PAGE]
     CERTIFICATE OF SERVICE                    1
     20-CV-02013 VC
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 1

 2   UNITED STATES OF AMERICA,                         ) Case No. CR 20-0260 CRB
                                                       ) [Filed June 25, 2020]
 3           Plaintiff,                                )
                                                       )
 4      v.                                             )
                                                       )
 5   JACK ABRAMOFF,                                    )
                                                       )
 6           Defendant.                                )
                                                       )
 7

 8           The United States, pursuant to Local Criminal Rule 8-1, hereby notifies the Court that the two
 9 above-captioned criminal cases are related, and that these two criminal cases may be related to a
10 pending civil case in this District.

11           The first-filed case, United States of America v. One Parcel of Real Estate Property Located at
12 9414 Plaza Point Drive, Missouri City, Texas, 77459, Case No. 20-CV-02013 VC, was filed on March

13 23, 2020. In that civil forfeiture action, the United States alleges that the defendant property named in

14 the above caption is subject to forfeiture under Title 18, United States Code, Sections 981(a)(1)(A) and

15 (a)(1)(C). The complaint alleges that the defendant property was purchased using the proceeds of funds

16 derived from a wire fraud scheme and money laundering transactions in which Rowland Marcus

17 Andrade was involved.

18           A criminal indictment, United States v. Rowland Marcus Andrade., Case No. 20-CR-00249 RS,
19 was filed on June 22, 2020 and unsealed on June 25, 2020. The indictment charges Rowland Marcus

20 Andrade with one count of wire fraud, 18 U.S.C. § 1343, and one count of money laundering, 18 U.S.C.

21 § 1956(a)(1), alleging that Andrade engaged in scheme to defraud related to the sale of a purported new

22 cryptocurrency called AML Bitcoin. The indictment also includes a criminal forfeiture allegation, under

23 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), seeking forfeiture, upon conviction, of the same

24 property at issue in the civil forfeiture action.

25           A criminal information, United States v. Jack Abramoff, Case No. CR 20-0260 CRB, was filed
26 on June 25, 2020. That information charges Jack Abramoff with one count of conspiracy to commit an

27 offense against the United States, namely wire fraud, in violation of 18 U.S.C. § 371. The information

28 names as a co-conspirator Marcus Andrade, and alleges a conspiracy to make false statements regarding

     CERTIFICATE OF SERVICE                            2
     20-CV-02013 VC
                                                                                                         (49 of 71)
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 1 the cryptocurrency AML Bitcoin. The information also alleges that Abramoff violated the registration

 2 requirement of the Lobbying Disclosure Act by failing to register as a lobbyist after being retained to

 3 have a lobbying contact or having a lobbying contact.

 4          The allegations in the civil forfeiture action, the indictment, and the information, each involve

 5 the activities of Andrade and his company, NAC Foundation, LLC, in connection with the sale of AML

 6 Bitcoin, and the cases involve the same period of alleged criminal conduct by Andrade, 2017 and 2018.

 7 The allegations in the cases therefore relate to the same events, occurrences, transactions, and property,

 8 and each action involve similar allegations. Because of the facts and allegations common to each action,

 9 the actions may entail substantial duplication of labor if heard by different judges. For these reasons,
10 pursuant to Local Rule 8-1(c)(4), the government believes that assignment to a single judge is likely to

11 conserve judicial resources and promote an efficient determination of the action.

12 DATED: June 25, 2020                                           Respectfully submitted,

13                                                                DAVID L. ANDERSON
                                                                  United States Attorney
14

15
                                                                         /s/
16                                                                LLOYD FARNHAM
                                                                  CHRIS KALTSAS
17                                                                Assistant United States Attorneys
18

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     CERTIFICATE OF SERVICE                           3
     20-CV-02013 VC
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                                    GENERAL ORDER NO. 44
                                      ASSIGNMENT PLAN

A.     PURPOSE
       This plan is adopted pursuant to 28 U.S.C. § 137 and Civil Local Rule 3-3(a). The purpose of
the plan is to:
       1. Provide an equitable system for a proportionate division of the caseload among the
          district and magistrate judges of the court;
       2. Ensure that cases are randomly and blindly assigned, except as otherwise provided
          herein to promote efficient case management;
       3. Provide for necessary adjustments to caseload assignments; and
       4. Provide a basis for monitoring the operation of the case assignment system.

B.     ADMINISTRATION
       The Executive Committee shall have the power to make and review all orders of
assignment and reassignment consistent with this plan. As provided in Civil L.R. 77-2(e), the
Clerk, when directed by the committee or as specifically provided for in this plan, may sign
orders on behalf of the Executive Committee.

C.     CASE NUMBERS
       Each case commenced in or transferred to the court pursuant to Civil L.R. 3-2 shall be
assigned a case number by the Clerk upon filing. A separate sequence of case numbers shall be
maintained for criminal and civil cases. Case numbers shall conform to the format approved by the
Administrative Office of the United States Courts.

D.     ASSIGNMENT OF CASES
       1. Unless otherwise required by the Executive Committee, cases shall be assigned by the
          Clerk to the judges holding chambers in the courthouse or courthouses serving the
          county in which the action arises.
       2. Cases shall be assigned blindly and at random by the Clerk by means of an automated
          system approved by the judges of the court. Such system will be designed to
          accomplish the following:
              a. Proportionate, random and blind assignment of cases;
              b. Except as set forth in paragraphs (D)(4) through (D)(7), an approximately equal
                 distribution among the active judges of the court of newly filed civil and
                 criminal cases within each of the case categories established by the court
              c. A high level of security so as to reasonably avoid prediction of the results of any
                 case assignment;
              d. A system of credits and debits to adjust for reassignments of cases among and
                 between judges;
              e. A record of all assignments and reassignments made.
       3. Notwithstanding any other provision of the Assignment Plan, the Clerk shall maintain
          a district-wide system of assignment for prisoner petitions (including death penalty
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        habeas corpus), bankruptcy, intellectual property rights, Social Security, federal tax
        suits, antitrust and securities class actions. Venue for cases in these categories shall be
        proper in any courthouse in this District. These cases shall not be reassigned on the
        basis of intra-district venue.
     4. Notwithstanding any other provision of the Assignment Plan, the Clerk shall assign
        cases transferred to this District pursuant to Federal Rule of Criminal Procedure 20 in
        the following manner. Assignment of Rule 20 cases shall be made prior to execution of
        a consent to transfer in the manner set forth in Criminal L.R. 20-1. Any subsequent Rule
        20 proceeding involving the same defendant and arising out of the same or
        superseding charges shall be deemed to be a related case and shall be assigned to the
        originally assigned judge.
     5. Notwithstanding any other provision of the Assignment Plan, the Clerk shall assign
        any non-capital habeas petition filed by a prisoner to the same judge who was assigned
        any previous petitions filed by or on behalf of that prisoner.
     6. Notwithstanding any other provision of the Assignment Plan, the Clerk shall assign
        any non-habeas civil complaint filed by a prisoner within five (5) years after the filing
        of the first civil complaint by that party to the same judge to whom the first such
        complaint was assigned. After five (5) years, the next new civil complaint filed by that
        prisoner shall be assigned to a different judge, in accordance with paragraph (D)(2)
        above, who shall then be assigned that prisoner’s civil filings for the next five (5) years.
        Thereafter, a different judge shall be assigned for each subsequent five-year period.
     7. Notwithstanding any other provision of the assignment plan, the Clerk shall assign a
        bankruptcy matter to the same judge who was assigned any previously filed
        bankruptcy matter arising from the same case in the United States Bankruptcy Court.

E.   ASSIGNMENT OF CASES TO MAGISTRATE JUDGES
     1. The full-time magistrate judges of this District shall be included in the civil case
        assignment system in the same manner as active district judges, except for capital
        habeas corpus petitions, securities class actions, and bankruptcy appeals or bankruptcy
        withdrawal of reference cases. With respect to such assignments, the following shall
        apply:
        a. In cases assigned at filing to a magistrate judge, the magistrate judge shall conduct
           all proceedings including a jury or bench trial and shall order the entry of a final
           judgment upon the written consent of all parties in the case in accordance with 28
           U.S.C. § 636(c) and Fed. R. Civ. P. 73.
        b. In all cases assigned at filing to a magistrate judge the Clerk shall provide all parties
           with a copy of the forms adopted by the court for “Notice of Assignment of Case To
           A United States Magistrate Judge for Trial.” The form shall indicate that upon
           written consent of the parties the magistrate judges of this District have been
           designated to conduct any and all proceedings in a civil case, including a jury or
           nonjury trial and order the entry of a final judgment. Prior to the magistrate judge
           taking any dispositive action in the case, the Clerk shall obtain from the parties
           written consent to the jurisdiction of the magistrate judge in accordance with 28
           U.S.C. §636(c) and Fed. R. Civ. P. 73.



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       c. If a party declines to consent to a United States magistrate judge, the Clerk shall
          reassign the case to a district judge on a random basis or in accordance with
          paragraphs (D)(5) and (D)(6), if applicable.
    2. Upon filing, the following will be assigned to a magistrate judge for all pretrial
       proceedings. When the case is ready for trial, upon consent of the parties, it will be
       retained by the magistrate judge for trial. If all parties do not so consent, the Clerk will
       randomly assign the case to a district judge in the division where the case is pending.
       a. All actions filed by the United States to recover on a claim for a debt;
       b. Pre-judgment or post-judgment applications by the United States under the Federal
          Debt Collection Procedures Act.
    3. Upon filing, unless exempted by Local Rule, order of a judge of this court, or other
       provision of this general order, all civil miscellaneous matters will be randomly
       assigned in the first instance to a magistrate judge who will either resolve the matter or,
       if necessary, prepare a report and recommendation and request assignment of the
       matter to the district judge who was the general duty judge on the date the
       miscellaneous matter was filed. Any objections to the magistrate judge’s order or report
       and recommendation will be resolved by that district judge. See Fed. R. Civ. P. 72.
       Matters from the Eureka division shall be reassigned, as necessary, to the general duty
       judge.
    4. For cases reassigned to a magistrate judge subsequent to initial case assignment (e.g. at
       a case management conference), the parties may consent to the assignment of a
       magistrate judge sitting in any division.

ADOPTED:     JULY 22, 1997                      FOR THE COURT:
AMENDED:     JULY 18, 2000
AMENDED:     MARCH 1, 2002
AMENDED:     JANUARY 30, 2003
AMENDED:     AUGUST 26, 2003
AMENDED:     APRIL 28, 2008
AMENDED:     JANUARY 4, 2010
AMENDED:     MAY 29, 2012
AMENDED:     MARCH 19, 2013
AMENDED:     DECEMBER 17, 2013
AMENDED:     JUNE 24, 2015
AMENDED:     APRIL 19, 2016
AMENDED:     JUNE 20, 2017
AMENDED:     JANUARY 1, 2018
                                                           PHYLLIS J. HAMILTON
                                                              CHIEF JUDGE




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                                            UNITED STATES DISTRICT COURT
                                                     Northern District of California
                                                             CIVIL LOCAL RULES

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                    3. COMMENCEMENT AND ASSIGNMENT OF ACTION
    3-1.      Regular Session
              The Court shall be in continuous session in the following locations: San Francisco Division,
              Oakland Division, San Jose Division, and Eureka Division. From time to time sessions may
              be held at other locations within the district as the Court may order.
    3-2.      Commencement and Assignment of Action
              (a)     Civil Cover Sheet. Every complaint, petition or other paper initiating a civil action
                      must be filed with a completed civil cover sheet on a form approved by the Court.
                                                   Cross Reference
                    See Civil L.R. 3-6(c) “Jury Demand; Marking of Civil Cover Sheet Insufficient;”
                    Civil L.R. 3-7(a) “Civil Cover Sheet Requirement in Private Securities Actions”

              (b)     Commencement of Action. An action may be commenced within the meaning of Fed.
                      R. Civ. P. 3 at any office of the Clerk for this district. After the matter has been
                      assigned to a Judge, unless ordered or permitted otherwise, all subsequent manual
                      filings must be made in the Office of the Clerk at the division or location where the
                      assigned Judge maintains chambers. Manual filings in matters assigned to the Eureka
                      division must be made in the San Francisco Office of the Clerk.
           (c) Assignment to a Division. Pursuant to the Court’s Assignment Plan, the Clerk shall assign
               civil actions and proceedings for which this district is the proper venue to the court division
               serving the county in which the action arises. A civil action arises in the county in which a
               substantial part of the events or omissions which give rise to the claim occurred or in which
               a substantial part of the property that is the subject of the action is situated. The following
               are excluded from this division-specific venue rule and will be assigned on a district-wide
               basis: Prisoner Petitions (including Death Penalty Habeas Corpus), Bankruptcy, Intellectual
               Property Rights, Social Security, Federal Tax Suits, Antitrust and Securities Class Actions.
              (d)     San Francisco and Oakland. Except as provided in Civil L.R. 3-2(c), all civil actions
                      which arise in the counties of Alameda, Contra Costa, Marin, Napa, San Francisco, San
                      Mateo or Sonoma shall be assigned to the San Francisco Division or the Oakland
                      Division.
              (e)     San Jose. Except as provided in Civil L.R. 3-2(c), all civil actions which arise in the
                      counties of Santa Clara, Santa Cruz, San Benito or Monterey shall be assigned to the
                      San Jose Division.
              (f)     Eureka. Except as provided in Civil L.R. 3-2(c), all civil actions which arise in the
                      counties of Del Norte, Humboldt, Lake and Mendocino, except for cases not assigned
                      to the magistrate judges pursuant to the Court’s Assignment Plan, shall be assigned to
                      the Eureka Division.
                                                  Cross Reference
                                     See General Order No. 44, Assignment Plan.

              (g)     Assignment of Action to the Eureka Division. All cases assigned to the Eureka
                      Division shall be assigned to the full-time magistrate judge presiding in that division.
                      Such assignments are subject to the provisions of Civil L.R. 73 and require the consent
                      of the parties. Any case for which all parties do not consent will be reassigned to a
                      district judge in one of the Bay Area divisions.
              (h)     Transfer of Actions and Proceedings. Whenever a Judge finds, upon the Judge’s own
                      motion or the motion of any party, that a civil action has not been assigned to the


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                    proper division within this district in accordance with this rule, or that the convenience
                    of parties and witnesses and the interests of justice will be served by transferring the
                    action to a different division within the district, the Judge may order such transfer,
                    subject to the provisions of the Court’s Assignment Plan.
    3-3.     Assignment of Action to a Judge
             (a)    Assignment. Immediately upon the filing of any civil action and its assignment to a
                    division of the Court pursuant to Civil L.R. 3-2, the Clerk shall assign it to a Judge
                    pursuant to the Assignment Plan of the Court. The Clerk may not make or change any
                    assignment, except as provided in these local rules or in the Assignment Plan (General
                    Order No. 44).
             (b)    Multiple Filings. Any single action filed in more than one division of this Court shall
                    be transferred pursuant to Civil L.R. 3-2(h).
             (c)    Refiled Action. If any civil action or claim of a civil action is dismissed and is
                    subsequently refiled, the refiling party must file a Motion to Consider Whether Cases
                    Should be Related pursuant to Civil L.R. 3-12. Upon a determination by a Judge that an
                    action or claim pending before him or her is covered by this Local Rule, that Judge
                    may transfer the refiled action to the Judge originally assigned to the action which had
                    been dismissed. Any party who files an action in multiple divisions or dismisses an
                    action and subsequently refiles it for the purpose of obtaining an assignment in
                    contravention of Civil L.R. 3-3(b) shall be subject to appropriate sanctions.
    3-4.     Papers Presented for Filing
             (a)    First Page Requirements. The first page of each paper presented for filing must set
                    forth:
                    (1)    The name, address, telephone number, facsimile (“fax”) telephone number, email
                           address and state bar number of counsel (or, if pro se, the name, address,
                           telephone number, fax telephone number and email address of the party)
                           presenting the paper for filing. This information must appear in the upper left
                           hand corner and must indicate the party represented by name as well as that
                           party’s status in the litigation (i.e., plaintiff, defendant, etc.). In multiparty actions
                           or proceedings, reference may be made to the signature page for the complete list
                           of parties represented;
                                                  Cross Reference
                See Civil L.R. 3-9 “Parties”; Civil L. R. 3-11 "Failure to Notify of Address Change;”
                      and Civil L.R. 11-3(d) “Appearances and Service on Local Co-Counsel.

                    (2)    If not proceeding pro se and if proceeding pro hac vice in conformity with Civil
                           L.R. 11-3, following the information required in Civil L.R. 3-4(a)(1) the name,
                           address, telephone and state bar number of the member of the bar of the Court
                           who maintains an office within the State of California; and
                    (3)    Commencing on the eighth line of the page (except where additional space is
                           required for counsel identification) there must appear:
                           (A)    The title of this Court, including the appropriate division or location;
                           (B)    The title of the action;
                           (C)    The case number of the action followed by the initials of the assigned
                                  District Judge or Magistrate Judge and, if applicable, the initials of the



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                    and deliver a copy of the complaint and motion to the Chambers of the assigned Judge
                    for determination.
             (b)    Content of Motion. The motion must contain:
                    (1)    A request to proceed in forma pauperis;
                    (2)    An affidavit or declaration under penalty of perjury providing the information
                           required by Title 28 U.S.C. § 1915, on a form available at the Office of the Clerk
                           and on the Court’s website, or an equivalent form; and
                    (3)    A proposed order.
             (c)    Determination of the Motion. The Judge may grant the motion, grant the motion
                    subject to partial payment of fees, costs or security, or deny the motion. If the motion is
                    granted in part or denied, the order will state that the action is dismissed unless any
                    outstanding fees, costs or security is paid within the time set in the order.
                                                    Commentary
              If, during the pendency of an action, any person wishes to prosecute or defend an action
               in forma pauperis, the person must file an Administrative Motion to Proceed in forma
                                       pauperis pursuant to Civil L.R. 7-11.

    3-11. Failure to Notify of Address Change
             (a)    Duty to Notify. An attorney or a party proceeding pro se whose address changes while
                    an action is pending must promptly file with the Court and serve upon all opposing
                    parties a Notice of Change of Address specifying the new address.
             (b)    Dismissal Due to Failure. The Court may, without prejudice, dismiss a complaint or
                    strike an answer when:
                    (1)    Mail directed to the attorney or pro se party by the Court has been returned to the
                           Court as not deliverable; and
                    (2)    The Court fails to receive within 60 days of this return a written communication
                           from the attorney or pro se party indicating a current address.
    3-12. Related Cases
             (a)    Definition of Related Cases. An action is related to another when:
                    (1)    The actions concern substantially the same parties, property, transaction or event;
                           and
                    (2)    It appears likely that there will be an unduly burdensome duplication of labor and
                           expense or conflicting results if the cases are conducted before different Judges.

             (b)    Administrative Motion to Consider Whether Cases Should be Related. Whenever a
                    party knows or learns that an action, filed in or removed to this district is (or the party
                    believes that the action may be) related to an action which is or was pending in this
                    District as defined in Civil L.R. 3-12(a), the party must promptly file in the lowest-
                    numbered case an Administrative Motion to Consider Whether Cases Should be
                    Related, pursuant to Civil L.R. 7-11. In addition to complying with Civil L.R. 7-11, a
                    copy of the motion, together with proof of service pursuant to Civil L.R. 5-5, must be
                    served on all known parties to each apparently related action. A courtesy copy of the
                    motion must be lodged with the assigned Judge in each apparently related case under
                    Civil L.R. 5-1(e)(7).



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             (c)    Sua Sponte Judicial Referral for Purpose of Determining Relationship. Whenever
                    a Judge believes that a case pending before that Judge is related to another case, the
                    Judge may refer the case to the Judge assigned to the lowest-numbered case with a
                    request that the Judge assigned to the lowest-numbered case consider whether the cases
                    are related. The referring Judge shall file and send a copy of the referral to all parties to
                    all affected cases. The parties must file any response in opposition to or support of
                    relating the cases pursuant to Civil L.R. 3-12(e). Alternatively, a Judge may order the
                    parties to file a motion pursuant to Civil L.R. 3-12(b).
             (d)    Content of Motion. An Administrative Motion to Consider Whether Cases Should be
                    Related must contain:
                    (1)    The title and case number of each apparently related case;
                    (2)    A brief statement of the relationship of the actions according to the criteria set
                           forth in Civil L.R. 3-12(a).
             (e)    Response to Motion. Any opposition to or support of a Motion to Consider Whether
                    Cases Should be Related must be filed in the lowest-numbered case pursuant to Civil
                    L.R. 7-11. The opposition or statement of support must specifically address the issues
                    in Civil L.R. 3-12(a) and (d) and be served on all parties and lodged with the Chambers
                    of all Judges identified in the motion. If the motion identifies more than two potentially
                    related cases, and a party contends that not all of the cases are related, the party must
                    address whether any of the cases are related to one another.
             (f)    Order Granting or Denying Relationship. Upon a motion by a party or a referral by
                    another Judge, after the time for filing support or opposition to the Motion to Consider
                    Whether Cases Should Be Related has passed, the Judge in this District who is assigned
                    to the lowest-numbered case will decide if the cases are or are not related and will
                    notify the Clerk, who, in turn, will notify the parties.
                    (1)    Due to the need for parties and affected Judges to have a speedy determination of
                           the motion or referral, the Judge assigned to the lowest-numbered case shall act
                           on the motion or referral within 14 days after the date a response is due. If the
                           Judge assigned to the lowest-numbered case is not available for that period, the
                           Clerk or counsel may bring the motion or referral to the General Duty Judge.
                    (2)    If the Judge assigned to the lowest-numbered case decides that the cases are not
                           related, no change in case assignment will be made. In cases where there are
                           more than two potentially related cases, the Clerk shall submit the order to the
                           Judges assigned to the other cases in order of filing with a form of order to decide
                           within 14 days if the cases are or are not related. If no Judge relates any of the
                           remaining cases, no change in case assignment will be made.
                    (3)    If any Judge decides that any of the cases are related, pursuant to the Assignment
                           Plan, the Clerk shall reassign all related higher-numbered cases to that Judge and
                           shall notify the parties and the affected Judges accordingly.
             (g)    Effect of Order on Case Schedule. The case management conference in any
                    reassigned case will be rescheduled by the newly assigned Judge. The parties shall
                    adjust the dates for the conference, disclosures and report required by Fed. R. Civ. P.
                    16 and 26 accordingly. Unless the assigned Judge otherwise orders, upon reassignment,
                    any deadlines set by the ADR Local Rules remain in effect and any dates for hearing
                    noticed motions are automatically vacated and must be renoticed by the moving party
                    before the newly assigned Judge. For cases ordered related after the initial case
                    management conference, unless the assigned Judge otherwise orders, any deadlines


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                    established in the case management order shall continue to govern, except for the trial
                    date, which will be rescheduled by the assigned Judge.
    3-13. Notice of Pendency of Other Action or Proceeding
             (a)    Notice. Whenever a party knows or learns that an action filed or removed to this
                    district involves all or a material part of the same subject matter and all or substantially
                    all of the same parties as another action which is pending in any other federal or state
                    court, the party must promptly file with the Court in the action pending before this
                    Court and serve all opposing parties in the action pending before this Court with a
                    Notice of Pendency of Other Action or Proceeding.
             (b)    Content of Notice. A Notice of Pendency of Other Action or Proceeding must contain:
                    (1)    A description of the other action;
                    (2)    The title and location of the court in which the other action or proceeding is
                           pending; and
                    (3)    A brief statement of:
                           (A) The relationship of the other action to the action or proceeding pending in
                               this district; and
                           (B) If the other action is pending in another U.S. District Court, whether transfer
                               should be effected pursuant to 28 U.S.C. § 1407 (Multi District Litigation
                               Procedures) or whether other coordination might avoid conflicts, conserve
                               resources and promote an efficient determination of the action; or
                           (C) If the other action is pending before any state court, whether proceedings
                               should be coordinated to avoid conflicts, conserve resources and promote an
                               efficient determination of the action.
             (c)    Procedure After Filing. No later than 14 days after service of a Notice of Pendency of
                    Other Action, any party may file with the Court a statement supporting or opposing the
                    notice. Such statement will specifically address the issues in Civil L.R. 3-13(b).
             (d)    Order. After the time for filing support or opposition to the Notice of Pendency of
                    Other Actions or Proceedings has passed, the Judge assigned to the case pending in this
                    district may make appropriate orders.
    3-14. Disqualification of Assigned Judge
             Whenever an affidavit of bias or prejudice directed at a Judge of this Court is filed pursuant
             to 28 U.S.C. § 144, and the Judge has determined not to recuse him or herself and found that
             the affidavit is neither legally insufficient nor interposed for delay, the Judge shall refer the
             request for disqualification to the Clerk for random assignment to another Judge.
                                                     Commentary
              Recusal under 28 U.S.C. § 455 is normally undertaken by a Judge sua sponte. However,
              counsel may bring the issue to a Judge’s attention by formal motion or raise it informally
               at a Case Management Conference or by a letter to the Judge, with a copy to the other
                parties in the case. This rule does not preclude a Judge from referring matters arising
              under 28 U.S.C. § 455 to the Clerk so that another Judge can determine disqualification.
                                                See also Civil L.R. 3-15.

    3-15. Disclosure of Non-party Interested Entities or Persons
             (a)    Certification. Upon making a first appearance in any proceeding in this Court, each
                    party must file with the Clerk a “Certification of Interested Entities or Persons”


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                                           UNITED STATES DISTRICT COURT
                                                    Northern District of California
                                                       CRIMINAL LOCAL RULES

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                        I.    SCOPE, PURPOSE AND CONSTRUCTION
    1-1.     Title
             These are the Local Rules of Practice in Criminal proceedings before the United States
             District Court for the Northern District of California. They should be cited as "Crim.
             L.R.___."
    2-1.     Purpose and Construction
             These Rules are promulgated pursuant to 28 U.S.C. § 2071 and Fed. R. Crim. P. 57. They
             supplement the Federal Rules of Criminal Procedure and shall be construed so as to be
             consistent with those Rules. The provisions of the Civil Local Rules of the Court shall apply
             to criminal actions and proceedings, except where they may be inconsistent with these
             criminal local rules, the Federal Rules of Criminal Procedure or provisions of law specifically
             applicable to criminal cases.
                                                  Cross Reference
                   See Civil L.R. 1-5(i) “General Orders” and Civil L.R. 1-5(m) “Standing Orders of
                                                  Individual Judges.”
    2-2.     Definitions
             Unless the context requires otherwise, the definitions contained in Civil L.R. 1-5 apply to
             these local rules.
             (a)      Fed. R. Evid. “Fed. R. Evid.” means the Federal Rules of Evidence.
             (b)      Probation Officer. “Probation Officer” refers to a United States Probation Officer
                      appointed by the United States District Court.
    2-3.     Certificate of Service
             (a)      Party Certificate of Service. Whenever these local rules or other provision of law
                      requires any pleading or paper which is presented for filing in a criminal case to be
                      served upon any party or person, it shall bear on it or have attached to it a certificate of
                      service in a form which complies with Civil L.R. 5-5(a).
             (b)      Clerk’s Certificate of Service. Unless the Judge or these local rules require otherwise,
                      any written order of the Court in a criminal case shall bear on it or have attached to it a
                      certificate of service by the Clerk.
    2-4.     Lodging Copy for Chambers
             Unless the Court orders otherwise, an extra copy of any document filed in a criminal case
             shall be marked “Chambers Copy,” and shall be provided to the Clerk’s Office pursuant to
             Civil L.R. 5-2(b) and 5-1(e)(7).




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                             II.     PRELIMINARY PROCEEDINGS
    5-1.     Criminal Case Proceedings before Assignment to a District Judge
             (a)    Calendar for Proceedings in Criminal Cases Before Assignment. Each courthouse
                    of this District shall maintain a criminal calendar to hear any matter in a criminal case
                    which has been assigned to that courthouse and which arises before the case is assigned
                    to a District Judge.
                                                 Cross Reference
                                          See Crim. L.R. 18-1(a),(b) or (c).

             (b)    Proceedings Before Magistrate Judge Prior to Assignment. At each courthouse a
                    Magistrate Judge shall be designated to hear and decide matters arising before the case
                    has been assigned to a District Judge in criminal cases which have been assigned to that
                    courthouse. The designated Magistrate Judge is empowered to hear and decide any
                    matter on that calendar unless a federal statute or federal rule requires that the matter be
                    decided by a District Judge.
             (c)    Initial Appearance After Arrest. Whenever a person is arrested in this District for a
                    federal offense, the person shall be brought without unnecessary delay before a
                    Magistrate Judge. The Magistrate Judge before whom the person is brought shall
                    preside over the initial appearance in accordance with Fed. R. Crim. P. 5. All
                    subsequent proceedings shall be conducted at the courthouse where the case has been
                    assigned pursuant to Crim. L.R. 7-1.
             (d)    Proceedings Before a District Judge Prior to Assignment. When a matter arises in a
                    criminal case before the case has been assigned to a District Judge which a federal
                    statute or federal rule requires be presented to or decided by a District Judge, it shall be
                    presented to the General Duty Judge.
                                                 Cross Reference
                                    See Civil L.R. 1-5(j) “General Duty Judge.”




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                          III.    INDICTMENT AND INFORMATION
    6-1.     Impanelment of Grand Jury
             The General Duty Judge is empowered to impanel one or more grand juries as the public
             interest requires. Upon a determination by a General Duty Judge to impanel a grand jury for a
             particular courthouse, he or she shall summon a sufficient number of legally qualified
             residents of the counties served by that courthouse pursuant to Civil L.R. 3-2 to satisfy the
             requirements of Fed. R. Crim. P. 6(a).
    6-2.     Grand Jury Administration
             (a)    Motions Pertaining to Composition or Term of Impaneled Grand Jury. A request
                    by the government or a grand juror for an order pertaining to service on or the term of
                    an impaneled grand jury shall be made by ex parte motion or request to the Judge who
                    impaneled the grand jury. If that Judge is unavailable within the meaning of Civil L.R.
                    1-5(n), the motion or request shall be made to the General Duty Judge. Such motions or
                    requests may pertain to matters such as:
                    (1)     A request by a member of a grand jury or by the government that a grand juror be
                            excused;
                    (2)     A request by the government to appoint an alternate grand juror;
                    (3)     A motion to extend the term of a grand jury.
             (b)    Motions Regarding Grand Jury Process or Proceedings. Any government motion
                    regarding those parts of the grand jury’s process or proceedings or in aid of its process
                    or proceedings which must be conducted in secret pursuant to Fed. R. Crim. P. 6, may
                    be made under seal by ex parte motion to the General Duty Judge. Unless otherwise
                    ordered by the General Duty Judge pursuant to ex parte request, any such motion filed
                    by a private party shall be accompanied by proof of service of the motion upon the
                    office of the United States Attorney for this District.
    7-1.     Assignment of Criminal Case
             (a)    Designation in Caption of Pleading. In the caption of each complaint, indictment or
                    information immediately following the identification of the pleading, the government
                    shall identify the courthouse to which the action should be assigned pursuant to Crim.
                    L.R. 18-1. After a complaint, indictment or information has been filed in this District
                    and assigned to the appropriate courthouse pursuant to Crim. L.R. 18-1, the Clerk shall
                    assign it to a District Judge pursuant to the Assignment Plan of the Court. The case
                    shall also be assigned to the designated criminal calendar Magistrate Judge at that
                    courthouse.
             (b)    Proceedings before Magistrate Judge after Assignment. After a case has been
                    assigned to a District Judge pursuant to Crim. L.R. 7-1(a), the criminal calendar
                    Magistrate Judge may conduct the following proceedings as deemed appropriate:
                    (1)     Appoint counsel;
                    (2)     Appoint an interpreter;
                    (3)     Conduct an arraignment and schedule an appearance before the assigned District
                            Judge;
                    (4)     Accept or enter a plea of not guilty;
                    (5)     Conduct a probation or supervised release preliminary revocation hearing;


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                    (6)    Hear and determine motions or matters regarding release or detention;
                    (7)    Set a schedule for disclosure of information pursuant to Fed. R. Crim. P. 16;
                    (8)    In a case transferred to this District under Fed. R. Crim. P. 20, order a
                           presentence report and schedule a date for arraignment, plea and sentencing
                           consistent with the time necessary to effect the transfer;
                    (9)    Order a presentence report where a defendant who is represented by counsel has
                           agreed to plead guilty;
                    (10) In cases pending before the Magistrate Judge, declare forfeiture of bail and
                         conduct proceedings pursuant to Fed. R. Crim. P. 46(e);
                    (11) After issuance of an order of forfeiture, enforcement, remission or exoneration by
                         a District Judge pursuant to Fed. R. Crim. P. 46(e), conduct further proceedings
                         pertaining to the bond as may be referred by the District Judge;
                    (12) Conduct proceedings under Fed. R. Crim. P. 40;
                    (13) Conduct proceedings for extradition;
                    (14) Conduct such other proceedings which may be performed by a Magistrate Judge
                         as ordered by the assigned District Judge.
    8-1.     Notice of Related Case in a Criminal Action
             (a)    Notice Requirement. Whenever a party to a criminal action pending in this District
                    knows or learns that the action is related to a civil or criminal action, which is or was
                    pending in this District, that party shall promptly file a “Notice of Related Case in a
                    Criminal Action” with the Judge assigned to the earliest filed action, shall lodge a copy
                    of the notice with the chambers of each Judge assigned to each related case and shall
                    serve all known parties with a copy of the notice.
                                                     Commentary
             A Judge's involvement in any pre-indictment miscellaneous proceeding (e.g., issuance of
             search warrant) is not a basis for assignment of any resulting criminal action to that Judge
                                                    as a related case.

             (b)    Definition of Related Case for Criminal Action. Any pending criminal action is
                    related to another civil or criminal action when:
                    (1)    Both actions concern one or more of the same defendants and the same alleged
                           events, occurrences, transactions or property; or
                    (2)    Both actions appear likely to entail substantial duplication of labor if heard by
                           different Judges or might create conflicts and unnecessary expenses if conducted
                           before different Judges.
             (c)    Content of Notice. A Notice of Related Case in a Criminal Action shall contain:
                    (1)    The title and case number of each related case;
                    (2)    A description of each related case;
                    (3)    A brief statement of the relationship of each action according to the criteria set
                           forth in Crim. L.R. 8-1(b);
                    (4)    A statement by the party with respect to whether assignment to a single Judge is
                           or is not likely to conserve judicial resources and promote an efficient
                           determination of the action.


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             (d)    Response to Notice. No later than 7 days after service of a Notice of Related Case in a
                    Criminal Action, any party may serve and file a statement to support or oppose the
                    notice. Such statement shall specifically address the issues in Crim. L.R. 8-1(b) and (c).
             (e)    Related Case Order. After the time for filing support or opposition to the notice has
                    passed, the Judge assigned to the earliest-filed case shall issue an order that indicates
                    whether the later-filed case is related or not, and if the case is related, whether the later-
                    filed case is to be reassigned to that Judge. After the Judge issues the related case order,
                    the Clerk shall reassign the case if ordered to do so and shall serve a copy of the order
                    upon the parties and the assigned Judge in the later-filed case.




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